Case 18-10552-reg Doc 1 Filed 04/04/18 Page 1 of 39

Fili in this information to identify your case:

United States Bankruptcy Court for the:

 

NORTHERN Districr of |N
Case number Chapter you are H|ing under:
(|fknown)
Chapter7
m Chapter11
l:l chapter12
|Ii change El checkifthisis an

amended filing

 

Official Form 101

Vo|untary Petition for lndividuals Filing for Bankruptcy 12/17

 

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a
car,” the answer would be yes if either debtor owns a car. When information is needed about the spouses separate|y, the form uses Debtor 1
and Debtor2 to distinguish between them. |n joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2.
The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possib|e. |f two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

-ldentify Yourself

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

About Debtor1: About Debtor 2 (Spouse On|y in a Joint Case):
1. Your full name
Write the name that is on your
government-issued picture A_DAM _
identification (for example, your F"St name F"St name
driver’s license or passport). _|_
Brjng your picture Middle name Middle name
identification to your meeting
with the trustee. W|LL|AMSON
Last name Last name
Sufflx (Sr., Jr., li, |l|) Sufiix (Sr., Jr., ll, lll)
2. All other names you have
used in the last 8 years First name First name
lnc|ude your married or
malden names‘ Middle name Middle name
Last name Last name
First name First name
Middle name Middle name
Last name Last name
3. Only the last 4 digits of
your Socia| Security XXX _ XX _ -§- -5- _O- -~8- XXX ` XX ` _ _ _ -~
number or federal oR oR
individual Taxpayer 9
identification number 9 XX ‘ XX ____ __ __ _ XX - XX -__ __ ____ _
(IT|N)

 

 

 

Officia| Form 101 Voluntary Petition for lndividuals Filing for Bankruptcy page 1

 

Debtor 1 ADA|\/|

First Name

Last Name

C\;ase 18-10552-1§}?79|_l AH§)SNl Filed 04/04/1Ezcase|:r’{a},geer (2}“9)1;”§9

Middle Name

 

4. Any business names and
Emp|oyer ldentification
Numbers (ElN) you have
used in the last 8 years

include trade names and
doing business as names

AboutDebtor1:
m | have not used any business names or Ele.

ADAMS AUTO REPA|R

Business name

About Debtor 2 (Spouse On|y in a Joint Case):

|:l l have not used any business names or Ele.

Business name

 

Business name

§Z-_Z_Q§ZQZQ

Business name

 

 

 

 

 

lf your mailing address is different from the one
above, fill it in here. Note that the court Wi|l send
any notices to you at this mailing address.

 

 

 

 

 

 

 

EiN EiN
E|N E|N
5_ Where you live lf Debtor 2 lives at a different address:
2203 TAYLOR ST.
Number Street Number Street
FORT WAYNE |N 46802
City State ZlP Code City State Z|P Code
ALLEN
County County

lf Debtor 2’s mailing address is different from the
one above, fill it in here. Note that the court will
send any notices to you at this mailing address

 

 

 

 

this district to file for
bankruptcy

 

Over the last 180 days before filing this petition, l
have lived in this district longer than in any other
district

l:] l have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

Number Street Number Street
City State ZlP Code City State Z|P Code
6. Why you are choosing Check one: Check one:

m Over the last 180 days before filing this petition, l
have lived in this district longer than in any other
district.

|:l | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

Official Form 101

Voluntary Petition for individuals Filing for Bankruptcy

page 2

 

 

Debtor 1 ADA[\/|

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er (if (known)

W |_|A[\/| Case num

First Name Middle Name Last Name

Te|l the Court About Your Bankruptcy Case

 

7. The chapter of the
Bankruptcy Code you are
choosing to file under

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for individuals
Filing for Bankruptcy (Form 2010)). Alsol go to the top of page 1 and check the appropriate box.

Chapter 7
Chapter 11
Chapter 12

 

8. How you will pay the fee

lIJ
i:i
iii chapter 13
l

l will pay the entire fee when l file my petition. P|ease check With the c|erk’s office in
your local court for more details about how you may pay. Typically, if you are paying the
fee yourself, you may pay with cash, cashiers check, or money order. lf your attorney is
submitting your payment on your behalf, your attorney may pay With a credit card or
check With a pre~printed address.

|:l | need to pay the fee in installments lf you choose this option, sign and attach the
App/icat/'on for individuals to Pay Your Filing Fee in installments (Officiai Form 103A).

l:l l request that my fee be waived (You may request this option only if you are filing for
Chapter 7. By law, a judge may, but is not required to, waive your fee, and may do so only
if your income is less than 150% of the ochial poverty line that applies to your family size
and you are unable to pay the fee in installments). if you choose this option, you must fill
out the App/ication fo Have the Chapter 7 Filing Fee Waived (Official Form 1038) and file
it With your petition.

 

 

 

 

9. Have you filed for NO
bankruptcy within the last
8 years? m Yes. District When Case number
MM / DD/YYYY
District When Case number
MM / DD / YYYY
District When Case number
MM / DD / YYYY
10.Are any bankruptcy NO
cases pending or being
filed by a Spouse Who is m Yes. Debtor Relationship to you
not filing this case with _ , ,
you, or by a business District When Case number, if known
. . MM / DD / YYYY
partner, or by an affiliate?
Debtor Re|ationship to you
District When Case number, if known
MM / DD/YYYY

 

11.Do you rent your
residence?

 

m No. Go to line 12.
l Yes. Has your landlord obtained an eviction judgment against you?

No. Go to line 12.

l:i Yes. Fiil out /nitia/ StatementAbout an Ev/`ction JudgmentAgainst You (Form 101A) and file
it with this bankruptcy petition.

 

Official Form 101

Voiuntary Petition for lndividuais Filing for Bankruptcy page 3

 

 

Qase 18-10552-(/$|9[_|/\|5?8000[\|1 Filed 04/04/18033€|:[1’%§(§.Kof 9

i`lOWi`l

Debtor 1 ADAl\/l

First Name Middle Name Last Name

m Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor [l NO_ Go lo pan 41
of any full- or part-time

 

business? Yes. Name and location of business
A sole proprietorship is a

business you operate as an ADAl\/lS AUTO REPAlR
individua|, and is not a Name of business, if any

separate legal entity such as a

corporation, partnership, or
LLC. 2201 TAYLOR STREET

Number Street
if you have more than one sole

proprietorship, use a separate
sheet and attach it to this
petition,

 

FORT WAYNE |N 46802
City State ZlP Code

Check the appropriate box to describe your business.'

Health Care Business (as defined in 11 U.S.C. § 101(27A))
Single Asset Rea| Estate (as defined in 11 U.S.C. § 101(51B))
Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101(6))

None of the above

Hl`_`ll:ll:|l:l

 

13. Are you filing under if you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlinesl lf you indicate that you are a small business debtor, you must attach your
Bankru tc Code and are most recent balance sheet, statement of operations, cash~flow statement, and federal income tax return or
you a S:]a% business if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(8).

debtor?
. " d c 1.
For a definition of Sma” No l am not filing un er hapter 1
bus/ness debtor' See 11 m No. l am filing under Chapter 11, but l am NOT a small business debtor according to the definition

U'S'C' § 101<51|3)' in the Bankruptcy Code.

m Yes. l am filing under Chapter 11 and l am a small business debtor according to the definition in the
Bankruptcy Code.

Report if You Own or Have Any Hazardous Property or Any Propeity That Needs immediate Attention

14. Do you own or have any NO
property that poses or is _
alleged to pose a threat of l:] Yesi What is the hazard?

 

imminent and identifiable
hazard to public health or

 

safety? Or do you own
any property that needs

. . . 9
lmmed'ate attent|on' if immediate attention is needed, why is it needed?

 

For exampie, do you own
perishable goods, or livestock

 

that must be fed, or a building
that needs urgent repairs?

Where is the property?

 

Number Street

city state _ziP code

 

 

Official Form 101 Voiuntary Petition for individuals Filing for Bankruptcy

page 4

 

 

Case 18- 10552- re

oebior 1 ADAl\/l

First Name

Middle Name

W| L|Al\/|SON

Last Name

Explain Your Effoits to Receive a Briefing About Credit Counse|ing

15. Tell the court whether
you have received
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy You must truthfully
check one of the following
choices. if you cannot do so,
you are not eligible to file.

if you file anyway, the court can
dismiss your case, you will lose
whatever filing fee you paid,
and your creditors can begin
collection activities again,

 

About Debtor 1:

You must check one.'

l received a briefing from an approved credit

counseling agency within the 180 days before l
filed this bankruptcy petition, and i received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency

l:l i received a briefing from an approved credit

counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have
a certificate of completion.

Within 14 days after you file this bankruptcy
petition, you i\i|UST file a copy of the certificate and
payment plan, if any

l:l l certify that l asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement,

To ask for a 30»day temporary waiver of the
requirement, attach a separate sheet explaining
What efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy

|f the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you nle.
You must file a certificate from the approved
agency, along With a copy of the payment plan you
developed, if any. lf you do not do so, your case
may be dismissed

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

i:l l am not required to receive a briefing about

credit counseling because of:

l:] incapacity. | have a mental illness or a
mental deficiency that makes me
incapable of realizing or making
rational decisions about finances.

m Disability. i\i|y physical disability causes me

to be unable to participate in a
briefing in person, by phone, or
through the internet, even after l
reasonably tried to do so.

m Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a

motion for waiver of credit counseling with the couit.

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CBSG nUm B|’( (if knOWn)

About Debtor 2 (Spouse Only in a Joint Case):

You must check one.'

[] i received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and i received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency

ij l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but i do not have
a certificate of completion.

Within 14 days after you file this bankruptcy
petition, you i\ilUST file a copy of the certificate and
payment plan, if any.

l:i l certify that i asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you Were unable to obtain it before you filed for
bankruptcy and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must tile a certificate from the approved
agency, along With a copy of the payment plan you
developed, if any |f you do not do so, your case
may be dismissed

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

l:l l am not required to receive a briefing about
credit counseling because of:

l:] incapacity. l have a mental illness or a
mental deficiency that makes me
incapable of realizing or making
rational decisions about frnances.

l:] Disability. lVly physical disability causes me

to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

L_.] Active duty. l am currently on active military
duty in a military combat zone.

lf you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for Waiver of credit counseling with the court.

 

 

Official Form 101

Voiuntary Petition for individuals Filing for Bankruptcy

page 5

 

Debtor 1 ADAl\/l

ase nu er (if known)

Case 18-10552-reg Doc 1 Filed 04/04/18 Pa e 6 of 39
T. Wl LlAl\/lsol\i C

First Name Middle Name Last Name

mi\nswer These Questions for Reporting Purposes

 

16. What kind of debts do
you have?

16a.`Are your debts primarily consumer debts? Consurner debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

lIl No.ooiolinoieb.
Yes. Goto line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment

No. Goto line 160.
l:l Yes. Gotoline17.

160. State the type of debts you owe that are not consumer debts or business debts.

 

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is
excluded and

l:l No. l am not filing under Chapter 7. Go to line 18.

Yes. l am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

 

administrative expenses N°
are paid that funds will be [:| Yes
available for distribution
to unsecured creditors?
18. How many creditors do 1-49 l:l 1,000-5,000 l:l 25,001-50,000
YOu estimate fhafy°u l.'_l 50-99 l:l 5,001-10,000 |] 50,001-100,000
°We? l:l 100-199 [l 10,001-25,000 |Il lvloreihon 100,000
El 200-999
19. How much do you so-$so,ooo l:l $1,000,001-$10 million l:l $500,000,001-$1 billion
estimateg'°u'a$$ets t° ij $50,001~$100,000 |Il sio,ooo,ooi-sso million El $1,000,000,001-$10 billion
be W°rth' El $100,001~$500,000 |Il 350,000,001-$100 million l:l $10,000,000,001-$50 billion
l:l $500,001~$1 million |Il $100,000,001-$500 million El rviorotnan soo billion
zo. How much do you l:l $0_$50,000 l:l si,ooo,ooi~sio million iI] $500,000,001-$1 billion
estimate your liabilities t° l:l $50,001~s100,000 l:l $10,000,001-$50 million l:l $1,000,000,001-$10billion
be' sioo,ooi-$soi),ooo ill $50,000,001-$100 million El $10,000,000,001~$50 billion
l:l 3500,001~$1 million l:l $100,000,001-3500 million ij lvlorotnan $50 billion

 

Sign Below

Foryou

 

@VMLV¢€\ ’X

l have examined this petition, and l declare under penalty of perjury that the information provided is true and
correct.

lfl have chosen to file under Chapter 7, l am aware that l may proceed, if eligible, under Chapter 7, 11, 12, or
13 of title 11, United States Code. l understand the relief available under each chapter, and l choose to proceed
under Chapter 7.

if no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me fill out
this document, l have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11, United States Code, specined in this petition.

l understand making a false statement, concealing property or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. 52, 1341, 1519, and 3571.

 

 

Signature of Debtor 1 Signature of Debtor 2
>(Executed on 3 `;;'/y Executed on
l\i|M/DD/YYYY MM/DD/YYYY
Official Form 101 Voiuntary Petition for individuals Filing for Bankruptcy page 6

 

 

 

Case 18-10552-re Doc 1 Filed 04/04/18 Page ,7 of 39
Debtor1 ADAl\/l T_ Wl |_lA|\/|SON Case num er (lf known)

First Name Middle Name Last Name

 

. |, the attorney for the debtor(s) nmed in this petition, declare that l have informed the debtor(s) about
F°r your attorney’ 'f you are eligibility to proceed under Chap tr 7, 11, 12, or 13 of title 11, United States Code, and have explained the
represented by one relief available under each chaptr for which the person is eligible. l also certify that l have delivered to the
U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that l
` that the information in the schedules filed with the petition is incorrect

       
 
 

debtor(s) the notice required by 1
have no knowledge after an inqui

lf you are not represented by

an attorney, you do not need X , . " ' 7 ,, , - ...
to file this page ' :> ’/ Dafe .__3_;2;‘?__( 8

 

 

 

 

 

 

 

 

Signature of Attorney for Debtor MM / DD / YYYY
\

FRED WEHRWE|N

Printed name \\

FRED WEHRWE|N. PC

Firm name z

1910 ST. JOE CENTER RD. 52

Number Street y

FORT WAYNE |N 46825

City State ZlP Code

Contact phone 260-480-5700 Email address WEHRWE|NPC@AOL.CO|V\

 

1405-02 lN
Bar number State

 

 

Official Form 101 Voiuntary Petition for individuals Filing for Bankruptcy page 7

 

Page 8 of 39

Fill in this information to identify your case:

Debtor1 ADAl\/| T W|LL|Al\/lSON

Flrst Name Middle Name Last Name

Debtor 2
(Spouse. li filing) F|rst Name Middle Name Lasi Name

 

United States Bankruptcy Couit for the: NORTHERN olsiricioi lN

Case number
<"k"°W") i:l chool< ii this is on amended iiiing.

 

 

 

Official Form 1068um

Summary of Your Assets and Liabilities and Certain Statistical information 12/15

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. Fill out ali of your schedules first; then complete the information on this form. if you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

 

Your assets
Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)

1a Copy line 55, Total real estate, from Schedule A/B ...................................................................................................... $ ____QHM
1b. Copy line 62, Total personal property, from Schedule A/B ............................................................................................ $ 3 500,00

 

ic, Copy line 63, Total of all property on Schedule A/B .....................................................................................................

Summarize Your Liabilities

$_7.MQ

 

 

 

Your liabilities
Amount you owe

2. Schedule D.' Creditors Who Have C/aims Secured by Property (Official Form 106D)
2a Copy the total you listed in Co|umn A, Amount of ciaim, at the bottom of the last page of Part 1 of Schedule D ........... $ M

3. Schedule E/F: Creditors Who Have Unsecured Ciairns (Official Form 106E/F)
3a Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ........................................ $ _1’1_96-'-@-0-

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ................................... +$ 38 684.00

 

 

 

 

 

Your total liabilities $ 120,047.00
l- Summarize Your income and Expenses
4. Schedule i.' Your income (Official Form 1061)
Copy your combined monthly income from line 12 of Schedu/e/ ....................................................................................... $ ...M
5. Schedule J.' Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22, Co|umn A, of Schedule J ................................................................................ $ 3,'190.00

 

 

Official Form 1068um Summary of Your Assets and Liabilities and Certain Statisticai information page 1 of 2

 

 

Debtor1 ADAM glass 18-10552-5&9|_%3§&\|1 Filed 04/04/1803$6|:"’11<3}19§(i<r?kncgl°vn 9

Flrst Name Middle Name Last Name
Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
l:l No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules

Yes

 

7. What kind of debt do you have?

Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.

l:l Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and
submit this form to the court with your other schedules.

 

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official . . v
Form 122A-i Lino 11; oR, Form 1223 i_ino ii; oR, Form 1220-1 Line 14. $ O'ZQ O(p ,OO

 

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

Total claim
From Part 4 on Schedule E/F, copy the following:

9e. Domestlc support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the governmentl (Copy line 6b.) $ 1 196.00
90. C|aims for death or personal injury while you were intoxicated (Copy line 60.) $ 0.00
9d. Student loans (Copy line 6f.) $ 0.00
9e. Obligations arising out'of a separation agreement or divorce that you did not report as $ O'OO

priority claims (Copy line 69.) _~*____
9f. Debts to pension or profit-sharing plans, and other similar debts (Copy line 6h.) + $ 0.00
99. Total. Add lines 9a through 9f. $ 1,196.00

 

 

 

 

 

 

Official Form 1068um Summary of Your Assets and Liabilities and Certain Statistical information page 2 of 2

 

Page 10 of 39

Fill in this information to identify your case:

Debtor1 ADAi\/| T WlLi_lAl\/lSON

First Name Middle Name Last Name

Debtor 2
(Spouse, if fliing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: NORTHERN Disiriol or lN

Case number
("k"°W") i:| Check if this is an amended filing

 

 

Official Form 106A/B
Schedule A/B Property 12/15

in each category, separately list and describe items. List an asset only once. if an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. if two married people are filing together, both are equally
responsible for supplying correct information. if more space is needed, attach a separate sheet to this form. On the top of any additional
pages, write your name and case number (if known). Answer every question.

Describe Each Residence, Building, Land, or Other Reai Estate You Own or Have an interest in

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

i:l No. eo to Part 2.
Yes. Where is the property?

 

 

 

 

 

 

What is the property? Check all that apply Do not deduct secured claims or exemptions Put
~ _ - the amount of any secured claims on Schedule
. Smg|e family h_Om(_z _ _ D: Creditors Who Have C/aims Secured by
1.1. 12709 us HWY 27 s i:l onplox or minn-unit building p,<,pe,,y_
Street address if availabie, or other description |:] Condomlnlum or Cooperallve
m _ Current value of the Current value of the
hilanufactured or mobile home entire property? portion you own?
m Land
i___i investment property $ 84 OOO_OO $ 3 333_00
|:i Timeshare
[:] Other Describe the nature of your ownership
FORT WAYNE iN 46816 interest (such as fee simple, tenancy by
City State ZlP Code the entireties, or a life estate), if known.

Who has an interest in the property? Check one.

|:l Debtor 1 only
i:| Debtor 2 only
m Debtor1 and Debtor 2 only m Check if this is community

§;-ll]~§;`| m At least one of the debtors and another property (See inStYUCinnS)

 

Other information you wish to add about this item, such as local
property identification number:

 

if you own or have more than one, list here:

 

 

 

 

 

 

What is the property? Check all that apply Do not deduct secured claims or exemptions Put
m nasi:::n;ii:::'§;,Cr;s:i,§:i;d”’e
1.2. |:i Duplex or multi~unit building properry,
Street address if availabie, or other description m Condomlnlum Or Cooperarlve
m Manufacmred Or mobile home Cur_rent value of the Current value of the
entire property? POl'flOn you °Wn?
i:] Land
m investment property $ $
|:l Timeshare
|:| Other Describe the nature of your ownership
interest (such as fee simple, tenancy by
City State Z|P Code the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
|:l Debtor 1 only
|:i Debtor 2 only
i:l Debtor1 and Debtor 2 only i:l Check if this is community
El At least one of the debtors and another property (See lnSfrUCtl°r\S)

 

County
Other information you wish to add about this item, such as local
property identification number:

 

 

 

Official Form 106A/B Schedule A/B: Property page 1

 

 

Case 18-10552-r§\g
T LLl

 

Doc 1 Filed 04/04/18 Page 11 of 39

 

Debtor1 A[)A|\/i _ A|\/|SON Case number (if known)
First Name Middle Name Last Name
' ')
What ls the property' Check an that app,y` Do not deduct secured claims or exemptions Put
[:l Single-family home the amount of any secured claims on Schedu/e D:
1_3_ Dupiex Oi muiii_unii buiiding Creditors Who Have C/aims Secured by Property

 

Street address if availab|e, or other description

 

 

City State ZlP Code

 

County

lIl

[:l Condominium or cooperative
l:l Manufactured or mobile home
m Land
l:l investment property
m Timeshare

l:l other

 

Who has an interest in the property? Check one.

L__l Debtor 1 only

l:| Debtor 2 only

l:l Debtor1 and DebtorZ only

l:l At least one of the debtors and another

 

Current value of the Current value of the
entire property? portion you own?

$__________$

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

l:] Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

2 Add the dollar value of the portion you own for all of your entries from Part1, including any entries for pages
you have attached for Part 1. Write that number here .................................................................................... ")

 

$ 3 833.00

 

 

0

 

Part 2: Describe Your Vehicles

 

Leases.

l:l No

Yes

3.1. lVlake: VOLVO
i\/lode|:
Year: 2002
Approximate mileage: 200,000

Other information:

 

 

 

 

 

 

 

 

 

if you own or have more than one, describe here:

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

Who has an interest in the property? Check one.

Debtor 1 only

l:l Debtor 2 only

m Debtor1 and Debtor 2 only

m At least one ofthe debtors and another
l:l

Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any
vehicles you own that someone else drives if you lease a vehicle, also report it on Schedule G.' Executory Contracts and Unexpired

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have C/aims Secured by Property

 

Current value of the Current value of the
entire property? portion you own?

$ __________5_00&(2 $ 500.00

 

 

3_2_ i\/lake: HONDA Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
I\/|Odel: 750 5 :e::m; On:y Cred/'tors Who Have C/aims Secured by Property.
e or on y
Yeari 2001 l:] Debtor1 and Debtor 2 only Current value of the Current value of the
Appioximaie mileage; 20 000 l:| At least one ofthe debtors and another entire Property? P°rt'°" you °Wn?
Other information:
l:l Check if this is community property (see
instructions) $ 200.00 $ 200.00
Official Form 106A/B Schedule AlB: Property page 2

 

 

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1 uAMsoN

 

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Debtor 1 ADAM Case number (if known)
First Name Middle Name Last Name
3_3, Make: SUZUK| Wh° has an interest in the property? Check one~ Do not deduct secured claims or exemptions Put
Debior 1 Cmiy the amount of any secured claims on Schedu/e D:
l\/iodel: 800 D bt 2 l Credilors Who Have C/a/`ms Secured by Property.
e or on y
Year: 2004 Current value of the Current value of the

Approximate mileage:

20 000

Other information:

 

 

 

 

3,4_ i\/lake:
lVlodel:
Year:
Approximate mileage:

Other information:

 

 

 

 

|:l l:ll:ll:lH

Who has an interest in the property? Check one.

El

l]
[l
[|
|___l

Debtor1 and Debtor 2 only
At least one ofthe debtors and another

Check if this is community property (see
instructions)

Debtor1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

Check if this is community property (see
instructions)

entire property? portion you own?

$ 300.00 $ 300.00

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
Creditors Who Have Claims Secured by Property,

 

Current value of the Current value of the
entire property? portion you own?

 

. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examp/es.' Boats, trailers motors, personal watercraft, fishing vessels snowmobiles, motorcycle accessories

-..No
l:l Yes

4_1_ l\/lake:
lVlodel:
Year:

Other information:

 

 

 

 

lfyou own or have more than one, list here:

4,2_ l\/lake:
i\/lodel:
Year:

Other information:

 

 

 

 

Who has an interest in the property? Check one.

l:l l:ll:ll:ll]

Who has an interest in the property? Check cne.

l:| [:][:ll___ll]

Debtor1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

Check if this is community property (see
instructions)

Debtor1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

Check if this is community property (see
instructions)

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have C/aims Secured by Property.

 

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have C/a/`ms Secured by Property. t

 

Current value of the Current value of the
entire property? portion you own?

 

 

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here ....................................................................................................................... -)

$ 1 000.00

 

 

 

Official Form 106A/B

Schedule A/B: Property

page 3

 

 

Debtor1 A|\/|SON Case number (if known)

Last Name

ADAl\/l

First Name Middle Name

Describe Your Personal and Household items

Do you own or have any legal or equitable interest in any of the following items?

6. Household goods and furnishings
Examp/es: l\/lajor appliances furniture, linens china, kitchenware

CTase 18-10552-r3]ciLL| Doc 1 Filed 04/04/18 Page 13 of 39

 

l:l..No

-UYeSl Describe ..... APPL|ANCES, FURN|TURE

 

 

 

7. Electronics
Examp/es: Televisions and radios; audio, video, stereo, and digital equipment; computers printers scanners; music
collections; electronic devices including cell phones cameras media players games

l:l..No

 

-"YeSl Describe ''''' 1 TELEVISION, 1 CELL PHONE

 

 

 

8. Col|ectib|es of value

Examp/es' Antiques and figurines; paintings prints or other artwork; books pictures or other art objects;
stamp, coin, or baseball card collections; other collections memorabilia, collectibles

-..No

 

l:l..Yes. Describe.....

 

 

 

9. Equipment for sports and hobbies
Examp/es: Sports photographic, exercise, and other hobby equipment; bicycles pool tables golf clubs, skis;
canoes and kayaks; carpentry tools; musical instruments

-..No

 

l:]..Yes. Describe.....

 

 

10. Firearms
Examp/es: Pisto|s, rifles, shotguns ammunition, and related equipment
-..No

 

E..Yes. Describe .....

 

 

 

1

._x

. Clothes
Examp/es.' Everyday clothes furs, leather coats designer wear, shoes accessories

l:l,.No

 

-UYeS_ Describe ..... EVERYDAY CLOTH|NG

 

 

 

12. Jewelry

Examples: Everydayjewelry, costumejewelry, engagement rings wedding rings heirloom jewelry, watches gems,
gold, silver

 

ll.No
l:l"Yes Describe .....

 

 

 

13. Non-farm animals
Examp/es' Dogs, cats, birds horses

-..No

 

l:l,.Yes. Describe .....

 

 

14. Any other personal and household items you did not already list, including any health aids you did not list

 

-,.No
[:]..Yes. Describe .....

 

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have

Current value of the
portion you own?

Do not deduct secured claims
or exemptions

$ 1 x000.00

$____M

$ 500.00

 

 

attached for Part 3. Write that number here .................................................................................................................................. ')

$ 1,700.00

 

 

 

Official Form 106A/B Schedule A/B: Property

page 4

 

 

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Debtor 1 ADAM `|'_ W|[_L|A|\/|SON Case number (if known)
First Name Middle Name Last Name
Describe Your Financia| Assets
Do you own or have any legal or equitable interest in any of the following? Current Value °f the
portion you own?
Do not deduct secured
claims or exemptions
16. Cash
Examples: l\/loney you have in your wallet, in your home, in a safe deposit box, and on hand When you file your petition
ij No
X
Yes ................................................................................................................................................................... Cash: '''''''''''''''' $ 100_00

17. Deposits of money
Examp/es: Checking, savings or otherfinancial accounts; certificates of deposit; shares in credit unions brokerage
houses and other similar institutions if you have multiple accounts With the same institution, list each.

 

 

 

 

 

 

 

 

 

 

 

 

l:l No
Yes .................. institution name:
17.1. Checking account: FIFTH THlRD BANK $ 200.00
17.2. Checking account $
17.3. Savings account; $
17.4. Savings account: $
17.5. Certificates of deposit $
17.6. Other financial account: $
17.7. Other financial account $
17.8. Other unancial account: $
17.9. Other financial account: $
18. Bonds, mutual funds or publicly traded stocks
Examp/es: Bond funds investment accounts With brokerage firms money market accounts
No
m YBS ............... institution or issuer name:
$
$
$
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses including an
interest in an LLC, partnership, and joint venture
NO Name of entity: % of ownership:
m Yes. Give specific
information about _ 0,00 % $
them.
0.00 % $
0.00 % $

 

 

Official Form 106A/B Schedule A/B: Property page 5

 

 

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Debtor1 ADAi\/i T_ Wii_LiAi\/iSON Case number (if known)

First Name Middle Name Last Name

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negot/'able instruments include personal checks cashiers’ checks promissory notes and money orders
Non-negotiab/e instruments are those you cannot transfer to someone by signing or delivering them.

No
l:l Yes.Give specihc |SSuername:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

information about $
them .....................
$
$
21. Retirement or pension accounts
Examp/es: interests in lRA, ERlSA, Keogh, 401(k), 403(b), thrift savings accounts or other pension or profit-sharing plans
l:l No
Yes. usi each
account separatelyl Type of account: institution name:
401(k) or similar plan: HZ JDB lNC. $ 500.00
Pension plan: $
lRA: $
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Exam,'.)/es.' Agreements With landlords prepaid rent, public utilities (electric, gas Water), telecommunications
companies or others
No
m Yes ........................ institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit: 3
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: $
$
Other:
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
No
[:] Y€S --------------------------- issuer name and description:
Official Form 106A/B Schedule AIB: Property page 6

 

 

Case 18-10552-reg Doc 1 Filed 04/04/18 Page 16 of 39
Debtor1 ADAM T- WiLLiAi\/iSON Case number (if known)

First Name Middle Name Last Name

 

24. interests in an education iRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
No
i:i Yes ....................................

institution name and descriptionl Separateiy tile the records ofany interests.11 U.S.C. § 521(c):

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

-No

i:i Yes. Give specific
information about them. $

 

 

 

 

26 Patents, copyrights trademarks trade secrets and other intellectual property
Examp/es: lnternet domain names websites, proceeds from royalties and licensing agreements
No

i:i Yes. Give specific
information about them. $ ___*_~_*__

 

 

 

 

27. Licenses, franchises and other general intangibles
Examples: Buiiding permits exclusive licenses cooperative association holdings liquor licenses professional licenses
No

i:i Yes. Give specific
information about them. $

 

 

 

 

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions

28. Tax refunds owed to you

 

No
i:i Yes. Give specific information about Federa|: $
them, including whether you
already filed the returns and the tax Siate. $
years ............................................ `
Local: $

 

 

 

29. Famiiy support
Examp/es.' Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlementl property settlement

-No

i:i Yes. Give specific information. ...........

 

Alimony: 3
Maintenance: $
Support: $

--__~___._____

Divorce settlement: $

 

Property settiement: $

.~____~__~._____

 

 

30. Other amounts someone owes you
Examp/es' Unpaid wages disability insurance payments disability benefits sick pay, vacation pay, workers’
compensation, Socia| Security benefits; unpaid loans you made to someone else '

No
i:i Yes. Give specific information ............

 

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property 4 page 7

 

 

 

Debtor1 ADAM Cif_;tSe 18-10552-|’UUA%%H. Fiied 04/04/18 CasE(QiQ&riiizngifn)SQ

First Name Middle Name Last Name

 

 

31. interests in insurance policies
Examp/es' Health, disability, or life insurance; health savings account (HSA); credit, homeowners or renter’s insurance

Ei No
Yes Name the insurance company C°mpany name: Beneflciary: Su"ender or refund
` . . . valu :
of each policy and list its value. ..... e

HEALTH iNSURANCE iNNOVATORS
OSGL| LlFE lNSURANCE EX-WlFE

0.00
0.00

 

32. Any interest in property that is due you from someone who has died
lf you are the beneficiary of a living trustl expect proceeds from a life insurance poiicy, or are currently entitled to
receive property because someone has died.

-No

 

 

 

i:i Yes. Give specific information ..........

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examp/es: Accidents, employment disputes insurance claims or rights to sue

-No

 

 

i:i Yes. Describe each claim. .............. $

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
rights to set off claims

-No

 

i:i Yes. Describe each claim ............. $

 

 

 

35. Any financial assets you did not already list

No
i:i Yes. Give specific information.

 

 

 

 

36. Add the dollar value of ali of your entries from Part 4, including any entries for pages you have

attached for Part 4. Write that number here .................................................................................................................................. ") $ ---§M

 

 

- Describe Any Business-Related Property You Own or Have an interest in. List any real estate in Part 1 .

37. Do you own or have any legal or equitable interest in any business-related property?
No. co to Part e.
i:i Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured
claims or exemptions

38. Accounts receivable or commissions you already earned

i:iNo

i:i Yes. Describe. $

 

 

 

 

39. Office equipment, furnishings, and supplies
Examp/es: Business-related computers software, modems, printers copiers fax machines rugs telephones desks chairs electronic devices

i:i No
i:i Yes.Describe.. $

 

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 8

 

 

Debtor 1 A[)A|\/|

First Name Middle Name Last Name

QletSe 18-10552-|’§\9[~[_[3/|%%§[ Fiied 04/04/18 C

as|: naug§sr:iii§n<())vi:n)3 9

 

40. Machinery, fixtures, equipment, supplies you use in business and tools of your trade

i:iNo

 

i:] Yes. Describe..

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

if you own or have an interest in farmiand, list it in Part1.

No. eo to Part 7.
[Il Yes. co to line 47.

47. Farm animals
Examp/es: Livestock, poultry, farm-raised fish

i:iNo

w Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an interest ln.

46. Do you own or have any legal or equitable interest in any farm~ or commercial fishing-related property?

 

 

$
41. inventory
i:i No
i:i Yes. Describe.. $
42. interests in partnerships orjoint ventures
i:i No
[:] Yes' Describe ~~~~~ Name of entity: % of ownership:
0.00% $
0.00% $ 0.00
0.00% $
43. Customer lists mailing iists, or other compilations
i:i No
i:i Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
i:i No
i:i Yes. Describe ......... $
44. Any business-related property you did not already list
i:i No
[i Yes. Give $
specific
information $
$
$
$
$
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ O_OO
for Part 5. Write that number here ..................................................................................................................................................... ')

 

 

i:i Yes ....................

 

 

Current value of the
portion you own?

Do not deduct secured
claims or exemptions

$

 

Official Form 106A/B Schedule A/B: Property

page 9

 

 

Debior 1 ADAM

First Name

Case 18-10552-re\<,jiu_#®%c(‘)|qI Filed 04/04/18 Casl:e’naugeerjogng)min§$?

Middle Name Last Name

 

48. Crops-either growing or harvested

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

63. Total of all property on Schedule A/B. Add line 55 + line 62. ....................................................................................

 

ij No
m Yes. Give specific
information. ............ $
49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
m No
m Yes .....................
$
50. Farm and fishing supplies, chemicals, and feed
m No
l:] Yes ....................
$
51. Any farm- and commercial fishing-related property you did not already list
m No
i:] Yes. Give specific
information. ........ $
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
for Part 6. Write that number here ..................................................................................................................................................... ') $ 0_00
- Describe All Property You Own or Have an lnterest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Examp/es.' Season tickets, country club membership
No $
m Yes. Give
specific $
information .......
$
54. Add the dollar value er all of your entries from Part 7. Write that number here ............................................................... -) $ ____M
List the Totals of Each Part of this Form
55. Part1: Total real estate, line 2 ................................................................................................................................................................. -) $ 3 833-00
56. Part 2: Total vehicles, line 5 $ 1,000.00
57. Part 3: Total personal and household items, line 15 $ 1 700.00
58. Part 4: Total financial assets, line 36 $ 800.00
59. Part 5: Total business-related property, line 45 $ 0.00
60. Part 6: Total farm~ and fishing-related property, line 52 $ 0.00
61. Part 7: Total other property not listed, line 54 + $ 0_00
62. Total personal property. Add lines 56 through 61. ................. $ 3 500.00 Copy personal property total ") + $ 3 500.00

 

$ 7 333.00

 

 

 

Official Form 106A/B

Schedule A/B: Property

page 10

 

 

Case 18-10552-reo Doc 1 Filed 04/04/18 Page 20 of 39

Fill in this information to identify your case:

   

 

Debtor1 ADA|\/| T WILLIAMSON

First Name Middle Name Last Name

Debtor 2
(Spouse, |f filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the; NORTHERN Districioi lN

?§::orkiv%nb€r |:l Check if this is an amended filing.

 

Official Form 1060
Schedule C: The Property You Claim As Exempt 04/16

Be as complete and accurate as possible. lftwo married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt lf more
space is needed, fill out and attach to this page as many copies of Part 2.' Add/tiona/ Page as necessaryl On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions_such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds_may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

ldentify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one on/y, even if your spouse is filing With you.

 

i:] You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
l:] You are claiming federal exemptions 11 U.S.C. §522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow

 

 

 

Schedule A/B that lists this property portion you own exemption
Copy the value from Check only one box for each
Schedule A/B exemption
Brief l.C. 34-55-10-2(0)(1)
description: 12 709 U.S. HWY. 27 S. FT.... $ 84 00000 $ 3 83300

 

l:l 100% of fair market value, up to:

 

 

 

 

 

 

 

 

 

 

 

 

 

Line from _ _ '
Schedule 1_1 any applicable statutory limit

A/B,'

Brief |.C. 34-55~10~2(0)(2)
deiscnption: 2002 VOLVO $ 500.00 $ 500_00

Line from l:l 100% of fair market value, up to:

Schedule 3_1 any applicable statutory limit

/l/B.l

Brief l.c. 34-55-10-2(0)<2)
description; 2001 HONDA 750 $ 200.00 $ ____M

Line from l:l 100% of fair market value, up to:

Schedule 32 any applicable statutory limit

A/B:

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

 

 

 

No
l:l Yes, Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
l:l No
m Yes
Official Form 1060 Schedule C: The Property You Claim As Exempt ;7 37 »:5;) page 1 ofg

)

 

Debtor 1 ADA|\/|

First Name

mAdditional Page

Middle Name

Last Name

Crase 18-10552-rML|AQ/|%%|\;t Filed 04/04/18 Casl§r§gberg,tng\),jn)€%$?

 

Brief description of the property and line on
Schedule A/B that lists this property

 

Brief
description:

Line from

Schedule A/B.'

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B.l

Brief
description:

Line from

Schedule A/B.'

Brief
description:

Line from

Schedule A/B.'

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B.'

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B.'

Brief
description:

Line from
Schedule A/B.'

Current value of the
portion you own

Copy the value from

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B
2004 StlZUK| 800 $ 300,00
_3.3__
HOUSEHOLD GOODS $ 1.000.00
6
ELECTRONICS $ 200.00
7
CLOTHES $ 500.00
_M__
CASH $ 100.00
_1§__
BANK ACCOUNT $ 200.00
17
RETIREMENT ACCOUNT $ 500.00
_L_
lNSURANCE POLICY $ 0.00
_31_
lNSURANCE POLICY $ 0.00
___?;l__
$
$
$

 

Amount of the exemption you claim

Check only one box for each exemption

lZl $ 300.00
El

100% of fair market value, up to:
any applicable statutory limit

$ 1,000.00

100% of fair market value, up to:
any applicable statutory limit

|:lEl

$___?-OLQQ

100% of fair market value, up to:
any applicable statutory limit

l:lEl

$__M

100% of fair market value, up to:
any applicable statutory limit

Ell§§l

$__M

100% of fair market value, up to:
any applicable statutory limit

E|Xl

$______200_-00.

100% of fair market value, up to:
any applicable statutory limit

l:ll§l

$____5_0_(2~_@

100% of fair market value, up to:
any applicable statutory limit

El'§`|

$___M

100% of fair market value, up to:
any applicable statutory limit

l'_`lEl

$__M

100% of fair market value, up to:
any applicable statutory limit

|:ll."_€l

$

100% of fair market value, up to:
any applicable statutory limit

l:|l:l

$

100% of fair market value, up to:
any applicable statutory limit

l:ll]

$

100% of fair market value, up to:
any applicable statutory limit

l:l|:l

Specific laws that allow

exemption

l.C. 34-55-10-2(01§2)

l.C. 34-55~‘| 0~2(0)(2)

l.C. 34-55-10-2 C 2

 

 

l.C. 34~55~10~2(Cl(2[

 

 

l.C. 34-55-10-2(0)(3)

l.C. 34-55-10~2(0)(3)

 

|.C. 34-55~‘|0~2(0)(6)

 

 

 

l.C. 34~55-10-2(6)(7)

 

 

 

l.C. 27~1~‘|2~14

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 106C

Schedule C: The Property You Claim as Exempt

page __2_ Of L

 

 

Fill in this information to identify your case:

ADAM

First Name

Debtor 1 T

Debtor 2

Middle Name

WlLL|Al\/|SON

Last Name

 

(Spouse, if i'lllng) First Name

United States Bankruptcy Court for the: NORTHERN

Case number

Middle Name

Last Name

oisinet et IN

 

(lf known)

 

Page 22 of 39

L__l Check if this is an amended filing.

 

Official Form 106D

Schedule D: Creditors Who Have Claims Secured by Property

12/15

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
[:l No. Check this box and submit this form to the court With your other schedules. You have nothing else to report on this form.

Yes. Fill in all of the information below.

List All Secured Claims

 

separately for each claim.

2. List all secured claims. lf a creditor has more than one secured claim, list the creditor
|f more than one creditor has a particular claim, list the other
creditors in Part 2. As much as possible, list the claims in alphabetical order according to the

 

 

 

 

 

 

 

Column A Column B Column C
Amount of claim Value of collateral Unsecured
DO not deduct the that supports this portion

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Creditor’s name. value of collatera|. Claim lf any
E Describe the property that secures the claim: $ 80 167 00 $ $
BAYV|EW/METRO. LlFE lNSO. CO. ' `
Creditor's Name
12709 US HWY. 27 S., FORT WAYNE, lN
P.O. BOX 331409
Number street As of the date you file, the claim is: Check all
that apply.
l:l Contingent
lvliAlvll FL 33233 Un"qu‘dated
city state zlP code I:l Disputed
Wh° °Wes the debt? Check °"e~ Nature of lien. Check all that apply.
m Debtor 1 Only An agreement you made (such as mortgage or
m Debtor 2 only secured car loan)
m D€bef 1 and Debef 2 Only m Statutory lien (such as tax lien, mechanic’s lien)
l:.l At least one of the debtors and another l:l Judgment lien from a lawsuit
l:l cheek if this claim relates to a m Other ('"°'“d'"g a "gm to °"Set>
community debt
Date debt was incurred Last 4 digits of account number
BAYV|EW/METROPOL|TAN LlFE lNS' CO' Describe the property that secures the clalm. $ $ $
Creditors Name 12709 US HWY. 27 S., FORT WAYNE, IN
STEPHAN|E RElNHART As of the date you file, the claim is: Check all
Number Street that app[y_
P.o. Box 441039 m C°"t'"ge"t
unliquidated
lNDiANAPoLls lN 46244 [l olsputed
City State ZlP Code
Nature of lien. Check all that apply.
Who owes the debt? Check one.
An agreement you made (such as mortgage
m Debtor1 Only or secured car loan)
m Debtor2 only , _ _ ,
m Statutol'y lien (such as tax |len, mechanlc’s lien)
l:l Debtor1 and Debtor 2 only . .
l:] Judgment lien from a lawsuit
m At least one of the debtors and another _ , _
Other (lncludlng a right to offset) MORTG. COLLEC...
l:l cheek if this claim relates te a
community debt
Date debt was incurred Last 4 digits of account number
Add the dollar value of your entries in Column A on this page. Write that number here: $ 80 167.00
Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of L

 

Page 23 of 39

Fill in this information to identify your case:

Debtor1 ADAl\/l T WlLLlA|\/|SON

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: NORTHERN Distrlct of |N

 

 

 

 

(r;l?:reret'v:§nber ij Check if this is an amended filing.
Official Form 106E/F
Schedule ElF: Creditors Who Have Unsecured Claims 12/15

 

Be as complete and accurate as possible. Use Part 1 for creditors with PRlORlTY claims and Part 2 for creditors with NONPR|ORlTY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106AlB) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066). Do not include any
creditors with partially secured claims that are listed in Schedule D.' Creditors Who Hold Claims Secured by Property. lf more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the leftr Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

List All of Your PRlORlTY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?
|__.l No. Go to Part 2.
Yes.

2.List all of your priority unsecured claims. lf a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify What type of claim it is. lf a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts As much as possib|e, list the claims in alphabetical order according to the creditor’s name. lf you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

 

 

Total claim Priority Nonpriority
amount amount
2.1

A|.'L,EN C.O' TREASURER Last 4 digits of account number $ 1196-00 $ 1.196.00 $ 0.00
Priorlty Creditor's Name

P.O. BOX 2540 When was the debt incurred?
Number Street

As of the date you file, the claim is: Check all that app|y.

FORT WAYNE lN 46801 m C°'Yt'“?e"t
city slate zlP code m Unllquldated
who incurred the debt? check one. m D'Sp“ted
m Debtor1 °"'Y Type of PRlORlTY unsecured claim:
m Debtor 2 only ' ' _
[] Debtor1 and Debtor 2 only m Domestic Suppo_rf Ob|lgatlons
|:] At least one ofthe debtors and another Taxes and Certa'n Other deth you OW€ the
[-_-| government

were intoxicated

Check if this claim is for a °°mmu“"y debt t:t Claims for death or personal injury while you
ls the claim subject to offset?

 

 

 

 

 

 

 

 

No Other. Specify
|:t Yes
2.2 . . $ $ $ 0 00

Priority medin Name Last 4 digits of account number .
When was the debt incurred?

Number Street
As of the date you file, the claim is: Check all that app|y.
m Contingent

city state zlP code i:} Un|iquidated

Who incurred the debt? Check one. m Disputed

 

§ B:§:;;; :::; Type of PRlORlTY unsecured claim:
t:] Debtor1 and Debtor 2 only l:| Domestic support obligations
|:t At least one ofthe debtors and another t:t Taxes and certain other debts you owe the
. . . t government

m Check ifthls claim is for a community debt m Claims for death Or personal injury Wh"e you
ls the claim subject to offset? Were intoxicated

NO l:l Other. Specify
t:t Yes

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of _9_

 

 

Case 18-10552-r\t/evcl Doc 1
Debtor 1 ADAM T. LlAMSON

First Name Middle Name Last Name

List All onour NONPRlORlTY unsecured claims

3. Do any creditors have nonpriority unsecured claims against you?

Yes

claims fill out the Continuation Page of Part 2.

` 4.1 |
ALLEN CO. REG. WATER & SEWER

Nonpriority Creditors Name

 

 

P.O. BOX 2269
Number Street
FORT WAYNE lN 46801
City State ZlP Code

Who incurred the debt? Check one.
Debtor1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

l:l l:lt:ll:l[l

Check if this claim is for a community debt

ls the claim subject to offset?

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Casenu b )

er (if known

t:t No. You have nothing to report in this part. Submit this form to the court with your other schedulesl

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that
apply.

t:] Contingent
unliquidated

m Disputed
Type of NONPRlORlTY unsecured claim:
t:l Student loans

El

Obligations arising out of a separation agreement
or divorce that you did not report as priority claims
Debts to pension or profit-sharing plans, and other

|:l

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. lf a creditor has more than one
priority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. |f more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than four priority unsecured

Total claim

$ 670.00

 

 

Nonpriority Creditor’s Name

P.O. BOX 60517

 

 

Number Street
ClTY OF lNDUSTRY CA 91716
City State ZlP Code

Who incurred the debt? Check cne.
Debtor 1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

l:l i:ll:ll:ll___l

Check if this claim is for a community debt

When was the debt incurred?

As of the date you file, the claim is: Check all that
apply.

m Contingent

unliquidated

t:i Disputed

Type of NONPRlORlTY unsecured claim:

|:l
|]

Student loans
Obligations arising out of a separation agreement
or divorce that you did not report as priority claims

No similar debts
l:l Yes otherl specify
4.2 l
BARCLAY CARD Last 4 digits of account number $ __LM(_)

 

 

 

 

Who incurred the debt? Check one.
Debtor 1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

ll l:li:ll:ll:l

Check if this claim is for a community debt

ls the claim subject to offset?
No
m Yes

 

t:] Contingent
Unliquidated
ij Disputed

Type of NONPRlORlTY unsecured claim:

m Student loans

m Obligations arising out of a separation agreement
or divorce that you did not report as priority claims

m Debts to pension or profit-sharing plans, and other
similar debts

Other. Specify

lS the Claim Subject fO OffSef? t:t Deth to pension or pront-sharing plans, and other
No similar debts
t:t Yes Other. Specify
4.3 j
CAP|TAL ONE Last 4 digits of account number $ 600.00
Nonpriority Creditors Name
When was the debt incurred?
P.O. BOX 6492
Number S"ee‘ As of the date you file, the claim is: Check all that
CAROL STREAl\/l lL 60197 apply-
City State ZlP Code

 

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

page _2_ Of _9_

 

 

Debtor 1

Case 18-10552-rt\e/\t7:j
T. l_LlAl\/lsoi\i

Last Name

ADAl\/|

First Name Middle Name

m Your NONPRlORlTY Unsecured Claims - Continuation Page

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Case nu ber (if known)

 

After listing any entries on this page, number them beginning with 4

 

4~“ cAPlTAl_ oNE

Nonpriority Creditor’s Name

8605 BROADWAY

Number Street

MERRlLLVlLLE
City

 

 

l N
State

46410
ZlP Code

Who incurred the debt? Check one.

.5, followed by 4.6, and so forth.

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that
apply.

l:l Contingent

Total claim

$ 7,960.00

 

 

 

 

Nonpriority Creditor's Name

P.O. BOX15123

 

 

Number Street
W|Ll\/l|NGTON DE 19850
City State ZlP Code

Who incurred the debt? Check one.

[] Debtor1 Only unliquidated
§ Debtor 2 only m Disputed
Debtor 1 and Debtor 2 only . _
m At least one of the debtors and another Type Of NGNPR|OR‘TY unsecured c|a'm'
_ _ ' _ _ t:t Student loans
t:\ Check lf this claim ls for a community debt . . . . .

l:t Obligations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No |:l Debts to pension or profit-sharing plans, and other
m Yes similar debts

other. specify cot_t§crloit

45 cHAsr-; . .
Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that
apply.

t:] Contingent

$ 4 021.00

 

 

 

 

Nonpriority Creditor’s Name

P.O. BOX 78045

 

 

Number Street
PHOENlX AZ 85062
City State Z|P Code

Who incurred the debt? Check one.
Debtor 1 only

Debtor 2 only

Debtor1 and Debtor 2 only

At least one of the debtors and another

E|l:ll:ll:l

l:l

ls the claim subject to offset?
No
t:t Yes

Check if this claim is for a community debt

 

l:l issuer 1 only unliquidated
§ Debtor 2 only ij Disputed
Debtor1 and Debtor2 only , _
m At least one of the debtors and another Type of NONPRlORlTY unsecured cla'm'
_ _ _ _ _ t:t Student loans
i:l Check if this claim is for a community debt . . . . .

t:t Obligations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No t:l Debts to pension or profit-sharing plans, and other
l:l Yes similar debts

Other. Specify

4~6 clTl cARD . .
Last 4 digits of account number

When was the debt incurred?
As of the date you file, the claim is: Check all that
apply.

t:t Contingent
Unliquidated

t:] Disputed
Type of NONPRlORlTY unsecured claim:
t:t Student loans

Obligations arising out of a separation agreement or
divorce that you did not report as priority claims
Debts to pension or profit-sharing plans, and other
similar debts
Other. Specify

 

$ 3,823.00

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Page _§_ Of _9__

 

 

Debtor 1

Case 13-10552-r\t/e\]gLAM
ADAM T. LlA
First Name

Middle Name Last NameM

_Your NONPRlORlTY Unsecured Claims - Continuation Page

 

47 cREsT FlN./KARL T. RYAN

Nonpriority Creditor’s Name

 

 

 

 

6502 WESTF|ELD BLVD.

Number Street

lNDlANAPOLlS lN 46220
City State ZlP Code

Who incurred the debt? Check one.

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Case nu ber (if known)

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that
apply.

m Contingent

Total claim

$_____‘|_M>_M

 

 

 

 

Nonpriority Creditors Name

 

 

3131 l\/lANCHESTER EXP.. STE. 53-A

Number Street

COLUl\/lBUS GA 31909
City State ZlP Code

Who incurred the debt? Check one.

lIJ Debtor 1 only Unliquidated
§ Debtor 2 only t:t Disputed
t:t §telt;t;;t1o:;dothehl;t?jre:t<;?t|syand another Type of NoNPR|OR|Tv unsecured Claim:

_ _ _ _ _ t:t Student loans
t:t Check if this claim is for a community debt m Obl. . . . .

lgations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No |:t Debts to pension or profit-sharing plansl and other
m Yes similar debts
Other. Specify
4'8 D|OR JEWELERS Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that
apply.

t:l Contingent

$ 970.00

 

 

 

 

 

 

Who incurred the debt? Check one.

t:t Debtor1 only

t:l Debtor 2 only

[l Debtor1 and Debtor 2 only

t:] At least one of the debtors and another

l:t Check if this claim is for a community debt
ls the claim subject to offset?

No

Yes

 

apply

[:] Contingent
unliquidated
[:] Disputed

Type of NONPRlORlTY unsecured claim:
lIl

Student loans

Obligations arising out of a separation agreement or
divorce that you did not report as priority claims
Debts to pension or profit-sharing plans, and other
similar debts

Other. specify 2 AccTs.

jj Debtor1 my unliquidated
§ Debtor 2 only [:l Disputed
Debtor1 and Debtor 2 only . _
t:] At least one of the debtors and another Type of NONPRlORlTY unsecured Cla'm'
_ ' _ _ _ t:t Student loans
m Check if this claim ls for a community debt . . . . .
t:i Obligations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No t:\ Debts to pension or profit-sharing plans, and other
l:l Yes similar debts
Other. Specify
4.9
D|SQQVER .BANK Last 4 digits of account number
Nonprlority Creditor’s Name $ 8 382.00
Number gsa BOX 6103 When was the debt incurred?
CAROL STREAM lL 60197 - - - .
City State ZlP Code As of the date you file, the claim is. Check all that

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page _£i_ Of _9_

 

 

Debtor1 CTase 18-10552- rv\;:leL AMSO

Last Name

ADAl\/l

First Name Middle Name

m Your NONPRlORlTY Unsecured Claims - Continuation Page

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Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth. Total claim
4.10
EISC.O,VER .BANK/LLOYD & MCDAN|EL Last 4 digits of account number
onprlonty Creditors Name $
Number l;t'reoe't BOX 23200 When was the debt incurred?
LOUlSVlLLE KY 40223 As of the date you file, the claim is: Check all that
City State ZlP Code appjy_
who incurred the debt? check one. m Contingent
|:| Debtor1 Only Unliquidated
§ Debtor 2 only m Disputed
Debtor 1 and Debtor 2 only . _
m At least one of the debtors and another Type Of NONPRlORlTY unsecured cla'm`
_ _ ' _ _ l:i Student loans
m Check if this claim is for a community debt . . . . .
t:t Obligations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No m Debts to pension or profit-sharing plans, and other
i:] Yes similar debts
Other. specify cobLEchoN LAwsulr
4~" ERlE iNs . .
N , , ' . Last 4 digits of account number
onprlorlly Credltor's Name $ 252'00
100 ERlE lNS. PLACE .
Number Street When was the debt incurred?
ERlE PA 16530 As of the date you file, the claim is: Check all that
City State ZlP Code appjy_
who incurred the debt? check one. m Contingent
|:l Debtor1 only Unliquidated
§ Debtor 2 only l:t Disputed
Debtor 1 and Debtor 2 only . _
t:l At least one of the debtors and another Type cf NONPRlORlTY unsecured cla'm'
_ _ _ _ , [] Student loans
[:t Check if this claim is for a community debt . . . . .
t:l Obligations arising out cfa separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No |:t Debts to pension or profit-sharing plans, and other
|___l Yes similar debts
other. specify 2 Accrs.
4.12
HOC.H. lNS‘ _AGENCY lNC' Last 4 digits of account number
Nonpriority Creditor’s Name $ 260'00
§S£ber §"re\;\t/ASH|NGTON CTR' RD' When was the debt incurred?
FORT WAYNE lN 46825 - - - .
Cny State z|p Code As of the date you file, the claim ls. Check all that
apply.
Who incurred the debt? Check one. t:t Contingent
l:t Debtor 1 only Unliquidated
t:] Debtcr 2 only |:] Disputed
t:t Debtor 1 and Debtor 2 only l
m At least one of the debtors and another Type Of NoNPR\OR|TY Unsecured Clalm:
|:t Check if this claim is for a community debt m Student loans
m Obligations arising out of a separation agreement or
|S the Claim Sub.lect to OffSet? divorce that you did not report as priority claims
NO t:t Debts to pension or profit-sharing plans, and other
Yes similar debts
Other. Specify
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page _5_ of 1

 

 

Debtor 1

Case 18-10552-r\t/evc[i
ADAM T. LLl

First Name Middle Name

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AMSON Case number (if known)

Last Name

m Your NONPRlORlTY unsecured claims - Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

233 S. PATTERSON AVE.

 

When was the debt incurred?

 

Number Street
SPR|NGFlELD lVlO 65802
City State ZlP Code

Who incurred the debt? Check one.

l:] Debtor1 only

t:t Debtor 2 only

t:l Debtor1 and Debtor 2 only

t:l At least one of the debtors and another

l:l

ls the claim subject to offset?
No
m Yes

Check if this claim is for a community debt

As of the date you file, the claim is: Check all that
apply,

t:] Contingent
Unliquidated

t:t Disputed

Type of NONPRlORlTY unsecured claim:

t:t Student loans

t:t Obligations arising out of a separation agreement or
divorce that you did not report as priority claims

m Debts to pension or pront-sharing plans, and other
similar debts

Other. Specify

 

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth. Total claim
4.13
hUTHERAN.HEALTH/BOA Last 4 digits of account number
onprlorlty Creditofs Name $ 2500
15673 COLLECT. CTR. DR. .
Number Street When was the debt incurred?
CH|CAGO lL 60693 As of the date you file, the claim is: Check all that
City State ZlP Code app|y_
Who incurred the debt? Check one. m Contingent
t:t Debtor 1 only Unliquidated
§ Debtor 2 only m Disputed
Debtor1 and Debtor 2 only . _
t:t At least one of the debtors and another Type of NONPRlORlTY unsecured c|a'm'
_ _ _ _ _ El student loans
m Check if this claim is for a community debt _ , _ _ ,
t:t Obligations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No t:t Debts to pension or profit-sharing plans, and other
t:t Yes similar debts
Other. Specify
4.14
['EUTHERAN.HEALTH/BOA Last 4 digits of account number
onprlonty Creditor’s Name $ 204_00
15691 COLLECT. CTR. DR. .
Number S{reet When was the debt incurred?
CHICAGO IL 60693 As of the date you file, the claim is: Check all that
city state zlP code apply_
Who incurred the debt? Check one. m Contingent
i:t Debtor 1 only Unliquidated
§ Debtor 2 only [:l Disputed
Debtor1 and Debtor 2 only . _
t:l At least one of the debtors and another Type of NONPRlORlTY unsecured cla'm'
. . . . _ t:t Student loans
t:t Check if this claim is for a community debt m . . . . .
Obligations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No l:t Debts to pension or pront-sharing plansl and other
m Yes similar debts
Other. Specify
445
NORE."'.LY AL.]TO PARTS Last 4 digits of account number
onprlorlty Creditor’s Name l $ 148’00

 

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

page _6_ Of 1

 

 

Debtor 1

Case 18-10552-re/\g
ADAM T. Ll_l

First Name Middle Name

Your NoNPRloRlTY unsecured claims ~ coniinuai

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AlVlSON Case number (if known)

Last Name

ion Page

 

 

 

 

 

 

 

 

 

 

 

Nonpriority Creditofs Name
P.O. BOX 960080

 

When was the debt incurred?

As of the date you file, the claim is: Check all that

 

Number Street
ORLANDO FL 32896
City State ZlP Code

Who incurred the debt? Check one.

apply.
l:l Contingent

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth. Total claim
4.16

EAR.K\./'EW.HEALTH Last 4 digits of account number

onprlorlly Credltoi“s Name $ 8.00
P.O. BOX 5600 .

Number Street When was the debt incurred?

FORT WAYNE |N 46895 As of the date you file, the claim is: Check all that

oily state zlP code app|y_

Who incurred the debt? Check one. m Contingent

El Debtor1 only Unliquidated

§ Debtor 2 only l:l Disputed

Debtor 1 and Debtor 2 only _ l
l:i At least one of the debtors and another Type of NONPRlORlTY unsecured cla'm'
_ _ _ _ _ |:l Student loans
|:l Check if this claim ls for a community debt m . . . _ _
Obligations arising out of a separation agreement or

ls the claim subject to offset? divorce that you did not report as priority claims

No i:] Debts to pension or profit-sharing plans, and other

|-_-| Yes similar debts

Other. Specify

4,17

PAYPAL/SYNCHRONY Last 4 digits of account number

$ 3,257.00

 

 

 

 

Nonpriority Creditofs Name

P.O. BOX 856177

m Debtor 1 only Unliquidated
§ Debtor 2 only m Disputed
Debtor1 and Debtor2 only . l
m At least one of the debtors and another Type of NONPRlORlTY unsecured cla'm'
_ _ _ _ _ m Student loans
l:l Check lf this claim ls for a community debt , _ _ _ _

i:] Obligations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No l:l Debts to pension or profit-sharing plans, and other
m Yes similar debts

Other. Specify

418 PNc BANK . .
Last 4 digits of account number

 

When was the debt incurred?

 

Number Street
LOUlSVlLLE KY 40285
City State ZlP Code

Who incurred the debt? Check one.
Debtor1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

l:ll:l|:|l:l

|:l

ls the claim subject to offset?
No
l:l Yes

Check if this claim is for a community debt

 

As of the date you file, the claim is: Check all that
apply-

l:l Contingent
unliquidated

l:l Disputed
Type of NONPRlORlTY unsecured claim:
m Student loans

Obligations arising out of a separation agreement or
divorce that you did not report as priority claims
Debts to pension or profit-sharing plans, and other
similar debts
Other. Specify

 

$ 4 993.00

 

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

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Debtor 1

Case 18-10552-rt3\jj
ADAl\/l T. Ll_l

First Name Middle Name

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AMSON Case number (if known)

Last Name

Your NONPRlORlTY Unsecured Claims - Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth. Total claim
4,19
:RA.X.NR D!STR|BUT|ON lNC' Last 4 digits of account number
onprlorlty Creditol“s Name $ 8'00
DEPT. CH 10666 .
Number Street When was the debt incurred?
PALAT|NE |L 60055 As of the date you file, the claim is: Check all that
City State ZlP Code app|y`
Who incurred the debt? check one. m Contingent
jj Debtor1 Only unliquidated
§ Debtor 2 only |:l Disputed
Debtor 1 and Debtor 2 only . _
l:] At least one of the debtors and another Type of NONPRlORlTv unsecured C‘a'm'
_ , _ _ _ m Student loans
[:] Check lf this claim ls for a community debt . . . . .
l:] Obligations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No l:] Debts to pension or profit-sharing plans, and other
[] Yes similar debts
Other. Specify
4.20
REP‘UBL|C $ERV./COAST TO COAST FlN. Last 4 digits of account number
Nonpriority Credllor’s Name $ 67_00
P.O. BOX 2096 .
Number Street When was the debt incurred?
THOUSAND OAKS CA 91358 As of the date you file, the claim is: Check all that
Clty State ZlP Code appjy_
Who incurred the debt? Check one. |:| Contiant
|:l Debtor1 Only unliquidated
§ Debtor 2 only m Disputed
Debtor1 and Debtor 2 only . _
m At least one of the debtors and another Type of NONPRlORlTY unsecured cla'm'
_ _ _ _ _ m Student loans
[.__l Check if this claim ls for a community debt . . . . .
m Obligations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No l:] Debts to pension or profit-sharing plans, and other
m Y€S similar debts
Other. Specify
421 sPRlNT ~ ~
_ . . Last 4 digits of account number
Nonpriority Creditofs Name $ 529'00
P.O. BOX 4191 .
Number Stree( When was the debt incurred?
CAROL STREAl\/l |L 60197 - - - .
City State ZlP Code As of the date you file, the claim ls. Check all that
app|y.
who incurred the debt? check cne. |Il contingent
l:l Debtor 1 only Unliquidated
L__] Debtor 2 only l:l Disputed
m Debtor1 and Debtor2 only _
m At least one of the debtors and another Type Of NONPRlORlTY Unsecured C|almi
[Il check if this claim is for a community debt m Student '°ans
m Obligations arising out of a separation agreement or
IS the Claim Subl'@¢"t to Off$et? divorce that you did not report as priority claims
N° m Debts to pension or profit-sharing plans, and other
Yes similar debts
Other. specify
Official Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims page _8__ of _9_

 

 

Debtor 1

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ADAl\/| T. WlLL|Al\/|SON

First Name Middle Name Last Name

Add the Amounts for Each Type of Unsecured Claim

Case number (if known)

 

Total claims
from Part1

Total claims
from Part 2

 

6a.

60.

6d.

6e.

Gh.

Bi.

Domestic support obligations

. Taxes and certain other debts you owe the

government

Claims for death or personal injury while you
were intoxicated

Other. Add all other priority unsecured claims.
Write that amount here.

Total. Add lines 63 through 6d.

. Student loans

. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and
other similar debts

Other. Add all other nonpriority unsecured claims.
Write that amount here.

6j. Total. Add lines 6f through 6i.

6a.

6b.

6e.

6d.

6e.

6f.

69.

6h.

6i.

6].

Total claim

$____*____*MQ

$ 1 196.00

$_____*_____O-_OO

+$_______M

 

 

 

$___~______1,1_9_@9

 

Total claim

$________U

$_______*_Os@

$_______*O_»O_O

+$

38 684.00

 

 

$ 38 684.00

 

 

1. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
Add the amounts for each type of unsecured claim.

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page 1 Of _9_

 

 

 

 

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Fill in this information to identify your case:

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Debtor1 ADAl\/| T WlLL|Al\/|SON

First Name Mlddle Name Last Name

Debtor 2
(Spouse, ll nllng) First Name Mlddle Name Last Name

 

United States Bankruptcy Court for the: NORTHERN oistrictor lN

Case number
<lfkn<>wn) l:l Check if this is an amended filing.

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Be as complete and accurate as possible. |f two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired |eases?

No. Check this box and file this form with the court With your other schedules You have nothing else to report on this form.
l:] Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B.' Property (Official Form 106AlB).

2. List separately each person or company with whom you have the contract or |ease. Then state what each contract or lease is for (for
examp|e, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases
Person or company with whom you have the contract or lease State what the contract or lease is for

2.1

Name

Number Street

City State ZlP Code
2.2

Name

Number Street

City State ZlP Code
2.3

Name

Number Street

City State ZlP Code
2.4

Name

Number Street

City State ZlP Code
2.5

Name

Number Street

City State ZlP Code

 

Official Form 1066 Schedule G: Executory Contracts and Unexpired Leases page 1 of _1_

 

 

Page 33 of 39

Fill in this information to identify your case:

Debtor 1 ADAl\/l T WlLL|Al\/ISON

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Mlddle Name Last Name

 

United States Bankruptcy Court for the: NORTHERN olstn'clof lN

Case number
(|f known)

 

[l Check if this is an amended filing.

 

 

Official Form 106H

Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. lf two married
people are filing together, both are equally responsible for supplying correct information. |f more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

 

 

1. Do you have any codebtors? (lf you are filing a joint case, do not list either spouse as a codebtor.)
No
m Yes
2. Within the last 8 years, have you lived in a community property state or territory? (Commurlity property states and territories include
Arizona, California, ldaho, Louisiana, Nevada, New l\/|exico, Puerto Rico, Texas, Washington, and Wisconsin.)
m No. Go to line 3.
l:] Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

ENo

|:l Yes. ln which community state or territory did you |ive? __. Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZlP Code

3. |n Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F(Officia| Form 106E/F), or Schedule G (Official Form 1066). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.
Column 1: Your codebtor Column 2.' The creditor to whom you owe the debt
Check all schedules that apply:

jr

l:l schedule D, line __

 

 

 

 

 

 

 

 

 

 

 

Name
l:l schedule E/l=, line _
Number Street l:i Schedule G, line _
City State ZlP Code
3.2 l
|Il schedule D, line __
Name
m Schedule E/F, line _
Number Street |___l Schedule G, line _
City State ZlP Code
3.3 j
l`_`l schedule D, line _
Name
l:| schedule E/F, line __
Number Street m Schedule G, line _
City State ZlP Code

 

 

 

Official Form 106H Schedule H: Your Codebtors page 1 of _1_

 

l

Page 34 of 39

Fill in this information to identify your case:

Debtor1 ADAM T WlLL|AI\/|SON

Flrst Name Middle Name Lasl Name

Debtor 2
(Spouse. lf ullng) Flrst Name Mlddle Name Last Name

 

United States Bankruptcy Court for the: NORTHERN Districtor lN

Case number
(|f known)

 

Check ifthis is:
m An amended filing

 

 

|:l A supplement showing post-petition chapter 13
income as of the following date:

Official FOl'm 'lOGI lvllvl/DD/YYYY

Schedule |: Your lncome 12/15

Be as complete and accurate as possible. lf two married people are filing together (Debtor1 and Debtor 2), both are equally responsible for
supplying correct information. lf you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. |f you are separated and your spouse is not filing with you, do not include information about your spouse. lf more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

P rt 1:
Describe Emp|oyment

 

 

 

 

 

 

 

Debtor1 ' Debtor 2 or non-filing spouse
lf you have more than one
job, attach aseparate page Em lo ed j:] E l d
With information about Emp|oyment status m p y mp °V€
additional employers_ Not employed m Not employed
include part-time, seasonal,
or self-employed work.
Occupation
Occupation may lnc|ude
student or homemaker, if it
applies Emp|oyer’s name HZ JDB lNC.
Employer’s address
Number Street Number Street
Clty State ZlP Code City State ZlP Code

How long employed there? 4 l\/lONTHS

Give Details About Month|y lncome

 

Estimate monthly income as of the date you file this form. lf you have nothing to report for any line, Write $O in the space. lnciude your non-filing
spouse unless you are separated.

lf you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. |f you
need more space, attach a separate sheet to this form.

 

 

 

 

For Debtor1 For D.e.bt°r 2 or ;
non-filing spouse
2. List monthly gross wages, salary, and commissions (before all
payroll deductions). lf not paid monthly, calculate what the monthly wage
would be. 2. $ 4,000.00 s 0.00
3. Estimate and list monthly overtime pay. 3. + $ 0.00 + s 0.00
4. Calculate gross income. Add line 2 + line 3. 4, s 4,000.00 s 0.00

 

 

 

 

 

 

 

 

Official Form 106l Schedule l: Your lncome page 1

 

 

 

 

CTase 18-10552-r§/g_L[A[|\)/|c8)%[\11 Filed 04/04/18 CasePna,gbeer§»f§nof)39

 

Debtor 1 ADAj\/| own
First Name Middle Name Last Name
For Debtor 2 or
F°r Debtor1 non-filing spouse
Copy line 4 here ................................................................. 9 4. $ 4,000-00 $ 0.00
5. List all payroll deductions:

5a. Tax, Medicare, and Social Security deductions 5a. $ 810.00 $ 0.00

5b. Mandatory contributions for retirement plans 5b. $ OtOO $ 0.00

50. Voiuntary contributions for retirement plans 5c. $ 160.00 $ 0.00

5d. Required repayments of retirement fund loans 5d. $ 0.00 $ 0.00

5e. insurance 5e. $ 0.00 $ 0.00

5f. Domestic support obligations 5f. $ 0.00 $ 0.00

59. Union dues 59. $ 0.00 $ 0.00

5h. Other deductions. Specify: .. 5h. +$ 0.00 +$ 0.00

6. Add the payroll deductions. Add lines 5a + 5b + 50 + 5d + 5a +5f+ 59 +5h 6. $ 970.00 $ 0.00
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 3,030.00 $ 0.00
8. List all other income regularly received:

Sa. Net income from rental property and from operating a business,

profession, or farm

Attach a statement for each property and business showing gross

receipts, ordinary and necessary business expenses, and the total

monthly net income. 8a. $ 0.00 $ 0.00
8b. lnterest and dividends 8b. $ 0.00 $ 0.00
8c Family support payments that you, a non-filing spouse, or a

dependent regularly receive

lnclude alimonyl spousal support, child support, maintenance,

divorce settlement, and property settlement Bc. $ 0.00 $ 0.00

8d. Unemployment compensation Bd. $ 0.00 0.00

8e. Social Security 8e. $ 0.00 0.00

8f. Other government assistance that you regularly receive

lnclude cash assistance and the value (if know) of any non-cash
assistance that you receive, such as food stamps (beneflts under the
Supplementa| Nutrition Asslstance Program) or housing subsidies
Specify: Bf. $ 0.00 0.00
8g. Pension or retirement income 8g. $ 0.00 0.00
8h. Other monthly income. Specify: .. 8h. +$ 0.00 +$ 0.00
9. Add all other income. Add lines 8a + 8b + 80 + 8d + 8e +8f +8g +8h 9, $ O_OO $ 0_()0
10. Calculate monthly income. Add line 7 + line 9.
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. $ 3,030.00 $ 0.00 = $ 3,030.00
11. State all other regular contributions to the expenses that you list in Schedule J.

lnclude contributions from an unmarried paltner, members of your household, your dependents, your roommates, and other

friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify: 11. + $ 0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.

Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Re/ated Data. |f it applies. 12. $ 3,030.00
Combined
monthly income

13. Do you expect an increase or decrease within the year after you file this form?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

No.

 

 

 

 

m Yes. Explaln:

 

 

Official Form 106l Schedule l: Your lncome

page 2

 

 

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Fill in this information to identify your case:

Debtor1 ADA|V| T WlLLlA|\/lSON

Flrsl Name Middle Name Last Name
Check if this is:

Deblor 2 j-_-j

(spcuse, lrrrllrrq) First Name Middle Name Last Name An amended filing

l:| A supplement showing post-petition chapter 13
income as of the following date:

United States Bankruptcy Court for the: NORTHERN olstrictcr lN

Case number __"‘_”’_
(lfknown) m MM / DD / YYYY

 

A separate fl|ing for Debtor 2 because
Debtor 2 maintains a separate household

 

 

Official Form 106J
Schedule J: Your Expenses terre

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Describe Your Household

1. ls this a joint case?
No. Go to line 2.
ij Yes. Does Debtor 2 live in a separate household?

m No.
l:] Yes. Debtor 2 must file a separate Schedule J.

 

2. Do you have dependents NO

_ . - . - Dependent’s relationship to Dependent’s Does dependent live
BObrjOf lé$f Debtor1 and m Y::<'::geopuetr:§:n't"f°rmat'°" for Debtor1 cr oebtor 2 age with you?
e or . ...................

 

No
Yes
No
Yes
No
Yes
No
Yes
No
Yes

Do not state the dependents
names.

 

 

 

 

El___lEl:ll:l[ll:ll:lljl:l

 

 

3. Do your expenses include NO
expenses of people other
than yourself and your m Yes'
dependents?

 

Part 2: Estimate Your Ongoing Monthly Expenses

 

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. lf this is a supplemental Schedule J, check the box at the top of the form and fill in the

applicable date

lnclude expenses paid for with non-cash government assistance if you know the value of

such assistance and have included it on Schedule l: Yourlncome (Official Form B 6l.) Your Expenses

 

4. The rental or home ownership expenses for your residence. lnclude first mortgage

 

 

 

 

payments and any rent for the ground or lot. 4. $ 450.00
lf not included on line 4:

4a. Real estate taxes 4a. $ 0.00
4b. Property, homeowner’s, or renter’s insurance 4b_ s 0.00
4c. Home maintenance, repair, and upkeep expenses 4c s 0.00
4d. Homeowner’s association or condominium dues 4d, $ 0_00

 

 

 

Official Form 106J Schedule J: Your Expenses page 1

 

 

 

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Debtor 1 ADAj\/| T Wj|_j_|Aj\/[SON Case nu er if known
First Name Middle Name Last Name
Your Expenses
5. Additional mortgage payments for your residence, such as home equity loans. 5. $ m 000
6. Uti|ities:
6a Electricity, heat, natural gas 6a. $ 350.00
6b. Water, sewer, garbage collection \ 6b. $ 320.00
6c Telephone, cell phone, lnternet, satellite, and cable services 6c $ 300.00
6d. Other. Specify: 6d. $ 0.00
7. Food and housekeeping supplies 7. $ 350.00
8. Childcare and children’s educational costs 8. $ 0.00
9. Clothing, laundry, and dry cleaning 9. $ 150.00
10. Personal care products and services 10. $ 50.00
11. Medical and dental expenses 11. $ 300.00
12. Transportation. include gas, maintenance, bus or train fare.
Do not include car payments. 12. $ 450.00
13. Entertainment, clubs recreation, newspapers, magazines, and books 13. $ 0.00
14. Charitable contributions and religious donations 14. $ 0.00
15. lnsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a. $ 20.00
15b. Health insurance 15b. $ 300.00
15c. Vehicle insurance 150. $ 150.00
15d. Other insurance. Specify: 15d. $ 0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16. $ 0.00
17. installment or lease payments:
17a. Car payments for Vehicle 1 17a. $ 0.00
17b. Car payments for Vehicle 2 17b. $ 0.00
17c. Other. Specify: 17c. $ 0.00
17d. Other. Specify: 17d. $ 0.00
18. Your payments of alimony, maintenance, and support that you did not report as deducted
from you pay on line 5, Schedulel, Yourlncome (Official Form B 6l). 18. s 0.00
19. Other payments you make to support others who do not live with you.
Specify: 19. $ 0.00
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Yourlncome:
20a l\/lortgages on other property 20a. $ 0.00
20b. Reai estate taxes 20b. $ 0.00
200. Property, homeowner’s, or renter’s insurance 20<:. $ 0.00
20d. Maintenance, repair, and upkeep expenses 20d. $ 0.00
20e. Homeowner’s association or condominium dues 20e. $ 0.00
Official Form 106J Schedule J: Your Expenses page 2

 

 

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Debtor 1 ADAj\/| T_ W||_L|Aj\/|SON Case number (if known)
First Name Middle Name Last Name
21. Other. Specify: 21. $ 0.00
22. Calculate your monthly expenses
22a. Add lines 4 through 21. s 3,190.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2. $ O_OO
22c. Add lines 22a and 22b. The result is your monthly expenses 22. $ 3,190_00
23. Calculate your monthly net income.
23a. Copy line 12 (your combined month/yincome) from Schedule /. 23a 3 3,030_()0
23b. Copy your monthly expenses from line 22 above. 23b_ .$ 3,190_00
230. Subtract your monthly expenses from your monthly income.
The result is your monthly net income. 230. $ -160.00
24. Do you expect an increase or decrease in your expenses within the year after you file this form?:
For exampie, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification in the terms of your mortgage?
No.
i:i Yes. Expiain here:
§Officiai Form 106J Schedule J: Your Expenses page 3

 

 

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Fill in this information to identify your case:

Debtor1 ADA|VI T WlLL|Ai\/|SON

First Name Middle Name Last Name

Debtor 2
(Spouse, if l'lling) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: NORTHERN olstriciof lN

C()|a:reo;:l>imer ij Check if this lS an
amended filing

 

 

 

Official Form 106Dec
Declaration About an individual Debtor’s Schedules 12,15

if two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

- Sign Below

 

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

No
m Yes. Name of person . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
(Ofucial Form 119),

Under penalty of perjury, l declare that l have read the summary and schedules filed with this declaration and that
they are true and correct.

19 %//¢---\~ x

 

 

Sigha/ture of Debtor 1 Signature of Debtor 2
X Date 3 " 2 q '/§ Date
MM/DD/YYYY MM/DD/YYYY

 

 

 

Official Form 106Dec Declaration About an individual Debtor’s Schedules § page 1

 

